   Case 2:12-cr-00048-MHT-TFM Document 457 Filed 07/19/13 Page 1 of 1




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
    v.                             )           2:12cr48-MHT
                                   )               (WO)
MICHAEL SMITH                      )

                                ORDER

    It is ORDERED as follows:

    (1) Defendant Michael Smith’s motion to withdraw

(doc. no. 455) is granted.

    (2) Defendant Smith’s motion for relief, including to

vacate conviction and hold a new trial (doc. no. 477), is

withdrawn.

    DONE, this the 19th day of July, 2013.



                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
